Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 1 of 10 PageID #: 230




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  THE SATANIC TEMPLE,                            )
                                                 )
                    Plaintiff,                   )
                                                 )
           v.                                    ) Case No. 1:22-cv-01859-JMS-MG
                                                 )
  TODD ROKITA, in his capacity as                )
  Attorney General of Indiana,                   )
  and RYAN MEARS, in his capacity as             )
  Marion County Prosecutor,                      )
                                                 )
                   Defendants.                   )
                                                 )



                          UNIFORM STIPULATED PROTECTIVE ORDER


 I.       INTRODUCTION

          The parties, by their undersigned counsel, pursuant to Fed. R. Civ. P. 26(c)(1), hereby

 stipulate to the following provisions of this Court’s Uniform Stipulated Protective Order.

 II.      SCOPE OF PROTECTED INFORMATION

          In the course of discovery in this action, the parties may be required to produce

 information that constitutes, in whole or in part, protected information such as trade secrets, non-

 public research and development, commercial or financial information, or other information that

 may cause harm to the producing party or a non-party. The parties anticipate production of the

 following categories of protected information:

       A. Information prohibited from disclosure by statute.

       B. Research, technical, commercial or financial information that a party has maintained as

          confidential.
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 2 of 10 PageID #: 231




        C. Medical information concerning individuals.

        D. Personal identity information.

        E. Income tax returns (including attached schedules and forms), W-2 forms and 1099 forms.

        F. Personnel or employment records of persons who are not parties to the case.

 III.      DESIGNATION OF PROTECTED INFORMATION

           A.      Scope: This Order governs the production and handling of any protected

 information in this action. Any party or non-party who produces protected information in this

 action may designate it as “Confidential” or “Attorneys’ Eyes Only” consistent with the terms of

 this Order. “Designating Party” means the party or non-party who so designates the protected

 information; “Receiving Party” means the party or non-party to whom such information was

 produced or disclosed. Whenever possible, the Designating Party must designate only those

 portions of a document, deposition, transcript, or other material that contain the protected

 information and refrain from designating entire documents. Regardless of any designations

 made hereunder, the Designating Party is not otherwise restricted from use or disclosure of its

 protected information outside of this action. In addition, any party may move to modify or seek

 other relief from any of the terms of this Order if it has first tried in writing and in good faith to

 resolve its needs or disputes with the other party(ies) pursuant to the terms of this Order and S.D.

 Ind. L.R. 37-1.

           B.      Application to Non-Parties: Before a non-party is given copies of designated

 information as permitted hereunder, it must first sign the acknowledgment to be bound to these

 terms that is attached hereto as Exhibit A; if it fails to do so, the parties to this action must

 resolve any such dispute before making disclosure of designated information as permitted




                                                    2
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 3 of 10 PageID #: 232




 hereunder to the non-party. If a non-party wishes to make designations hereunder, it must first

 sign the acknowledgment to be bound to these terms that is attached hereto as Exhibit A.

         C.     Timing and Provisional Protection: Designations may be made at any time. To

 avoid potential waiver of protection hereunder, the Designating Party should designate

 information at the time of production or disclosure, including on the record during the taking of

 any testimony. Deposition testimony will be deemed provisionally protected for a period of 30

 days after the transcript is released to the parties by the court reporter, although the parties may

 agree at any time to different timelines of provisional protection of information as Confidential

 or Attorneys’ Eyes Only as part of one or more specific depositions. To retain any designations

 beyond the provisional period, a Designating Party must designate specific pages and lines of

 deposition testimony before the provisional period has expired. Such designations must be made

 in writing so that all counsel and court reporters may append the designation to all copies of the

 transcripts.

         D.     Manner of Designation: Information may be designated hereunder in any

 reasonable manner or method that notifies the Receiving Party of the designation level and

 identifies with specificity the information to which the designation applies. If made verbally, the

 Designating Party must promptly confirm in writing the designation. Whenever possible, the

 Designating Party should stamp, affix, or embed a legend of “CONFIDENTIAL” or

 “ATTORNEYS’ EYES ONLY” on each designated page of the document or electronic image.

 IV.     CHALLENGES TO DESIGNATED INFORMATION

         In the event that a Receiving Party disagrees at any time with any designation(s) made by

 the Designating Party, the Receiving Party must first try to resolve such challenge in good faith

 on an informal basis with the Designating Party pursuant to S.D. Ind. L.R. 37-1. The Receiving



                                                   3
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 4 of 10 PageID #: 233




 Party must provide written notice of the challenge and the grounds therefor to the Designating

 Party, who must respond in writing to the challenge within 15 days. At all times, the

 Designating Party carries the burden of establishing the propriety of the designation and

 protection level. Unless and until the challenge is resolved by the parties or ruled upon by the

 Court, the designated information will remain protected under this Order. The failure of any

 Receiving Party to challenge a designation does not constitute a concession that the designation

 is proper or an admission that the designated information is otherwise competent, relevant, or

 material.

 V.     LIMITED ACCESS/USE OF PROTECTED INFORMATION

        A.      Restricted Use: Information that is produced or exchanged in the course of this

 action and designated under this Order may be used solely for the preparation, trial, and any

 appeal of this action, as well as related settlement negotiations, and for no other purpose, without

 the written consent of the Designating Party. No designated information may be disclosed to any

 person except in accordance with the terms of this Order. All persons in possession of

 designated information agree to exercise reasonable care with regard to the custody, use, or

 storage of such information to ensure that its confidentiality is maintained. This obligation

 includes, but is not limited to, the Receiving Party providing to the Designating Party prompt

 notice of the receipt of any subpoena that seeks production or disclosure of any designated

 information and consulting with the Designating Party before responding to the subpoena. Any

 use or disclosure of Confidential or Attorneys’ Eyes Only information in violation of the terms

 of this Order may subject the disclosing person or party to sanctions.




                                                  4
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 5 of 10 PageID #: 234




        B.     Access to “Confidential” Information: The parties and all persons subject to this

 Order agree that information designated as “CONFIDENTIAL” may only be accessed or

 reviewed by the following:

               1. The Court, its personnel, and court reporters;

               2. Counsel of record for any party in this action and their employees who assist

                    counsel of record in this action and are informed of the duties hereunder;

               3.   The parties, including their agents and employees who are assisting or have

                    reason to know of this action, so long as each such agent or employee has

                    signed the acknowledgment to be bound to these terms that is attached hereto

                    as Exhibit A;

               4. Experts or consultants employed by the parties or their counsel for purposes of

                    this action, so long as each such expert or consultant has signed the

                    acknowledgment to be bound to these terms that is attached hereto as Exhibit

                    A; and

               5. Other witnesses or persons with the Designating Party’s consent or by court

                    order.

        C.      Access to “Attorneys’ Eyes Only” Designations: The parties and all persons

 subject to this Order agree that information designated as “ATTORNEYS’ EYES ONLY” may

 only be accessed or reviewed by the following:

               1. The Court, its personnel, and court reporters;

               2. Counsel of record for any party in this action and their employees who assist

                    counsel of record in this action and are informed of the duties hereunder;




                                                  5
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 6 of 10 PageID #: 235




                3.   The following representatives for each party, who must also sign the

                     acknowledgment to be bound to these terms that is attached hereto as Exhibit

                     A:

                               (a) For Plaintiff: Erin Helian:

                4. Other witnesses or persons to whom the Designating Party agrees in advance

                     of disclosure or by court order.

        D.      Review of Witness Acknowledgments: At any time and for any purpose,

 including to monitor compliance with the terms hereof, any Designating Party may demand to

 review all copies of Exhibit A in any Receiving Party’s possession. The Receiving Party must,

 within 3 business days of the demand, provide all such copies to the Designating Party making

 the demand. Notwithstanding the foregoing, if the Receiving Party has retained an expert whose

 identity has not yet been disclosed to the Designating Party, the Receiving Party may generically

 identify how many acknowledgments that it has in its possession attributable to non-disclosed

 experts, whose acknowledgements must later be provided contemporaneously with any reports

 issued by one or more of said experts. If a Receiving Party is not required to disclose the identity

 of any consulting experts, it may not be compelled to produce any acknowledgments from those

 experts to the Designating Party. However, if the Designating Party provides to the Court

 evidence of breach of this Order via unauthorized leak of designated information, the Court may

 require an in camera production of all acknowledgments held by a Receiving Party in order to

 determine breach and consider enforcement of this Order.

        E.      Non-Waiver Effect of Designations: Neither the taking of, nor the failure to take,

 any action to enforce the provisions of this Order, nor the failure to object to any designation,

 will constitute a waiver of any party’s claim or defense in this action or any other action or



                                                   6
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 7 of 10 PageID #: 236




 proceeding, including but not limited to a claim or defense that any designated information is or

 is not confidential, is or is not entitled to particular protection, or embodies or does not embody

 information protectable by law.

          F.      In-Court Use of Designated Information: If information designated pursuant to

 this Order will or may be offered in evidence at a hearing or trial, then the offering party must

 give advance notice to the party or non-party that designated prior to offering the information so

 that any use or disclosure may be addressed in accordance with the Court’s case-management or

 other pre-trial order, or by a motion in limine.

       Nothing in this Order shall be construed as a waiver by a party of any objections that may be

 raised as to the admissibility at trial of any evidentiary materials.

 VI.      CLAW-BACK REQUESTS

          A.      Failure to Make Designation: If, at any time, a party or non-party discovers that it

 produced or disclosed protected information without designation, it may promptly notify the

 Receiving Party and identify with particularity the information to be designated and the level of

 designation (the claw-back notification). The Receiving Party may then request substitute

 production of the newly-designated information. Within 30 days of receiving the claw-back

 notification, the Receiving Party must (1) certify to the Designating Party it has appropriately

 marked or, if substitute production has been requested, destroyed all unmarked copies that it

 received, made, and/or distributed; and (2) if it was practicably unable to mark or destroy any

 information because disclosures occurred while the Receiving Party was under no duty of

 confidentiality under the terms of this Order regarding that information, the Receiving Party

 must reasonably provide as much information as practicable to aid the Designating Party in




                                                    7
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 8 of 10 PageID #: 237




 protecting the information, consistently with the Receiving Party’s attorney-client, work-product,

 and/or trial-preparation privileges.

        B.      Inadvertent Production of Privileged Information: If, at any time, a party

 discovers that it produced information that it reasonably believes is subject to protection under

 the attorney/client, work-product, or trial-preparation privileges, then it must promptly notify

 each Receiving Party of the claim for protection, the basis for it, amend its privilege log

 accordingly, and comply with Fed. R. Civ. P. 26(b)(5). Whenever possible, the producing party

 must produce substitute information that redacts the information subject to the claimed

 protection. The Receiving Party must thereupon comply with Fed. R. Civ. P. 26(b)(5) as to the

 information subject to the claimed protection. The parties must also comply with S.D. Ind. L.R.

 37-1 before seeking Court intervention to resolve any related dispute.

 VII.   DURATION/CONTINUED RESTRICTIONS

        A.      Handling of Designated Information Upon Conclusion of Action: Upon

 conclusion of this action, including all appeals, the Designating Party(ies) is/are responsible for

 ensuring that any party or person to whom the party shared or disclosed designated information

 in this action returns or destroys all of its copies, regardless of the medium in which it was

 stored. Within 60 days after the later of dismissal of this action or expiration of all deadlines for

 appeal, the Receiving Party(ies) must certify to each Designating Party that all designated

 information hereunder has been destroyed by all parties and witnesses for whom that party is

 responsible. No witness or party may retain designated information that it received from any

 other party or non-party under this Order; only counsel of record are the authorized agents who

 may retain one copy for their respective legal files, and who must also describe to the

 Designating Party the extra steps taken to seal its legal file containing paper and/or electronic



                                                   8
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 9 of 10 PageID #: 238




 copies of the designated information so that it is not accessed, used, or disclosed inconsistently

 with the obligations under this Order. This provision does not apply to the Court or Court staff.

        B.        Continued Restrictions Under this Order: The restrictions on disclosure and use

 of confidential information survive the conclusion of this action.

 VIII. REQUESTS TO SEAL

        This protective order does not authorize a party to file or maintain a document under seal.

 Any party that seeks to file any document, or any portion of a document, under seal, and any

 party that opposes its maintenance under seal, must comply with S.D. Ind. L.R. 5-11.


                                               Respectfully submitted,


 For Plaintiff:                                For Defendants:

 /s/ W. James Mac Naughton                     THEODORE E. ROKITA
 W. James Mac Naughton, Esq.                   Attorney General of Indiana
 7 Fredon Marksboro Road                       Attorney No. 18857-49
 Newton, NG 07860
 wjm@wjmesq.com                         By:    /s/ Aaron M. Ridlen
 Attorney for Plaintiff                        Aaron M. Ridlen
                                               Deputy Attorney General
                                               Attorney No. 31481-49
                                               Attorney for Defendant

 Date: May 14, 2023

 So Ordered and Approved.

   Date: 5/25/2023
                                                      Ma r
                                                         ioGa r
                                                              cia
                                                      Unit
                                                         e dSta
                                                              tesMa gi
                                                                     st
                                                                      rateJudge
                                                      Souther
                                                            nDi s
                                                                tri
                                                                  ctofIndia
                                                                          na

Distribution:
To ECF Counsel of Record



                                                  9
Case 1:22-cv-01859-JMS-MG Document 39 Filed 05/25/23 Page 10 of 10 PageID #: 239




                                             EXHIBIT A


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  THE SATANIC TEMPLE,                            )
                                                 )
                   Plaintiff,                    )
                                                 )
          v.                                     ) Case No. 1:22-cv-01859-JMS-MG
                                                 )
  TODD ROKITA, in his capacity as                )
  Attorney General of Indiana,                   )
  and RYAN MEARS, in his capacity as             )
  Marion County Prosecutor,                      )
                                                 )
                  Defendants.                    )
                                                 )



                     AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

 The undersigned acknowledges having been provided with and having read the “Uniform

 Stipulation Protective Order” in this matter ("Protective Order"). The undersigned further agrees

 he/she (i) is bound under the Protective Order, (ii) will comply with all of its provisions, and (iii)

 is subject to the jurisdiction of the Court for all purposes arising under the Protective Order,

 including enforcement of its terms.



                                                ___________________________
                                                ERIN HELIAN
                                                DATED MAY 14, 2023




                                                   10
